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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT




ESTATE OF KENNY RICHIE MARTY                         CIV ACTION NO.: 3:19-CV-01914 (SRU)
MITCHEL,
-- BY AND THROUGH EMILY
REBECCA GARLICK AND GERARD
NEVILLE MITCHELL,
ITS PERSONAL REPRESENTATIVES
                                                     OCTOBER 17, 2022
                        Plaintiffs,

v.

GAVIN SCOTT HAPGOOD, A/K/A
SCOTT HAPGOOD

                        Defendant.




                                      JOINT STATUS REPORT

       Pursuant to this Court’s Order dated August 16, 2022 (Doc. 57), the defendant, Gavin

Scott Hapgood (“Scott Hapgood”), on behalf of all parties, provides an update on the status of

this case as follows:

       1.       The Anguillian criminal proceedings are continuing against the defendant. As

previously reported, Scott Hapgood will be remitted for trial, but no trial date certain has been

set.

       2.       In light of the ongoing limitations previously reported and discussed above, the

parties respectfully request that this matter remained stayed.
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                              DEFENDANT,
                              GAVIN S. HAPGOOD


                           By: ____/s/___________________________
                              Beck S. Fineman, Esq.(ct27648)
                              Ryan Ryan Deluca LLP
                              1000 Lafayette Blvd., Suite 800
                              Bridgeport, CT 06604
                              Juris No. 438500
                              Phone: 203-549-6650
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                                CERTIFICATE OF SERVICE


        I hereby certify that on October 17, 2022, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.




                                             ______/s/___________________________
                                             Beck S. Fineman, Esq.
